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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
JOSEPH RUDY,

       Plaintiff,

v.                                     CASE NO.: 8:21-cv-01685-VMC-TGW

FIRST NATIONAL COLLECTION
BUREAU, INC.,

     Defendant.
_________________________________________/

     STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, Joseph Rudy, and Defendant, First National Collection Bureau, Inc.,

by and through undersigned counsel and pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, hereby stipulate to the dismissal of the above case

with prejudice. Each party is to bear their own attorney’s fees and costs.




                             [Signatures are on the next page]



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Dated: November 8, 2021


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 /s/ Brian L. Shrader_________
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                                               Attorney for Defendant


        CERTIFICATE OF COMPLIANCE OF LOCAL RULE 3.01(g)

      I hereby certify that I have conferred with counsel for each Defendant about

this Stipulation and that all parties consent to the relief requested herein.

                                  /s/ Brian L. Shrader__
                                  Attorney

                           CERTIFICATE OF SERVICE

      I certify that on November 8, 2021, a copy of the foregoing was filed

electronically using the CM/ECF system. Notice of this filing will be sent to the

parties of record by operation of the Court’s electronic filing system.

                                  /s/ Brian L. Shrader__
                                  Attorney




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